




02-11-222-CV









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

NO. 02-11-00222-CV

&nbsp;

&nbsp;


 
  
  Steven M. Johnson and Steven M. Johnson, P.C. dba
  The Johnson Law Firm
  
  
  &nbsp;
  
  
  APPELLANTS
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  Mary McKinney
  
  
  &nbsp;
  
  
  APPELLEE
  
 


&nbsp;

&nbsp;

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&nbsp;

FROM THE 352nd
District Court OF Tarrant COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;

We
have considered “Appellants' Motion To Dismiss.”&nbsp; It is the court=s
opinion that the motion should be granted; therefore, we dismiss the appeal.&nbsp; See
Tex. R. App. P. 42.1(a)(1), 43.2(f).

Costs
of the appeal shall be paid by appellants,
for which let execution issue.&nbsp; See Tex. R. App. P. 42.1(d).

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

PANEL:&nbsp;
MEIER, DAUPHINOT,
and GABRIEL, JJ.&nbsp;


&nbsp;

DELIVERED:&nbsp;
October 27, 2011 &nbsp;








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[1]See Tex. R. App. P. 47.4.







